Case 1:21-cv-07957-LAK   Document 94-12   Filed 06/30/23   Page 1 of 8




  EXHIBIT 92
Case 1:21-cv-07957-LAK   Document 94-12   Filed 06/30/23   Page 2 of 8




                                                                         2021 MARVEL-0039903
Case 1:21-cv-07957-LAK                                                 Document 94-12                              Filed 06/30/23                                                                    Page 3 of 8   'St"
                                                                                                                                                                                                                   0
                                                                                                                                                                                                                   0)
                                                                                                                                                                                                                   0)
                                                                                                                                                                                                                   (")
                                                                                                                                                                                                                   0
                                                                                                                                                                                                                   0
                                                                                                                                                                                                                   ...J
                                                                                                                                                                                                                   w
                                                                                                                                                                                                                   >
                                                                                                                                                                                                                   0:::
                                                                                                                                                                                                                   <(
                                                                                                                                                                                                                   2:
                                                                                                                                                                                                                   N
                                                                                                                                                                                                                   0
                                                                                                                                                                •,.;_d,G~; j0AJ'."/,j
                                                                                                                                                                                                                   N
                                                                                                                                                                     ;;.;~:-i~•;;)J•:11:'l.fY}
                             ~r, i:~( ,'\                  1p;oJ_:.H)i..Uill-{                     P!::11-:t,::)Oi',\j_
                                                                                                                                                                                  ~)j,:Sfif
                                                                                                      :. B)8,::t.)\-\' X:OL
                  ;!qqo4 10dr,,_;                         ;JU!;\ 0p lp,;H

                               J...;·;;1H                    ~)jl:JO_) .'\nQ
                                                                                                                   U0;Jl                                             <;)tHJC•_)
          ..!.3dd«d 0·rnoy.:aN,.Vd                                 0:~ur.)..l;J
                                                         p;):.Gth::3 Bill!..:.)                              1-1:s t:ns                                                        -~ '~::: j   .) : :


                                                                                                      J~d;!,B)y..j•(}{;5'.
                                                                                                                                                                    s.;•J;i.;t3u,,·,u::s")
                                                        SJ'!WOJ /,ea~UO::)
                                                                                                   ;,0,jlO//\ J..::.;,od                                 J.,;0~-;./..~v ~1;;31c:1,,.,rx)
                                n1.w1                                 Ap1;~_)

                   S.::!LUC_;i /4:z:CJ;i               O:>;,ww,{ up:J;do,)                      ~!.JilN ~:l)l a;n;;N

             A'-.f.)\-i,flQ---fjO) ?Dl                       "~"":N, IIY                                     :,.,":.H)!!H)N


                                                   S0SO) 0U!!J) ;)(1J1 ;JV                      i""PO~/'{ «t.ii ;):JJ!W
                                                                                            {dno.ii)
                                                                                            f~NO\>J
                                                                                                                              11 i,.)   yi: ,...    13 l! 0 i.;:-i ,::) f
                                                                                                                                    fHH'~~! 0Jt"l Sdf\O!Q



                                                                                                                                                                                    idoh~"iU
    8l>6l 'AJ''lf f" ~MS!                                                                                                                               .}.. ~N              >iJO/,.. 6\:.,if,i
           l{i!M ~t.~p;:;J~                                                                                                                                                             (;~£
                                                                                                                                                             ~~U-:Sl\\f l{;J!j
       'J ·oN P""':) ,,;,:,~

                                             a!
                                                                                                                                                     ptia+uo,10116 afit";..i,:lot-.o
                                                                                                                                                          ,(;y,uow ooo'ooo'a




    Page and Cover Size ................ ,....... 6" x 9%"                        Column Widlh ................... ................... ......... 2 "

     h Page Size ................... ................... 6" x 4h"                 No Bleed Poges er Covers occepted



                                                                                                                                          in position, ready to
     Plates made at no cost to advertiser. Complete Block ond White odginol art
                                                                                                                                                   color pages, color
     photograph, i-equired. Veiox Print may be supplied in place of orig1rwl art. For
                                                                                                                                                   rnaterioi accepted.
     breakdown must be supplied. Type size recommende d 6 point or larger. Only line
                                                                                                                                           111 any one unit must
     Copy subject to publisher's approval. Advertiseme nts and key numbers placed
                                                                                                                                                    ihan one unit of
     be identical for that entire unit Advertiseme nts and key numbers placed in more
                                                                                                                                                                            units, rrn.;st
     Marvel Comic Group, and receiving odvm,tage of reduced rate for such combination
                                                                                                                                                                of


     be identico! for all units. Preference given to advertisers purchasing                                    ,? pace in larger units in cases
     of conflict.




                                                                                      Comic Group
      Guoroniees (net paid monthly circulations based on averages for year): Marvel
                                     4,000,000 per month A3C; Biue Unit 2,000,000 per month; Yellow
      3,000,000 per month; Red Unit*
      Unit 2,000,000 per month. Ag,:mcy Commission 15%. Cash Discount 2% within
                                                                                                                                             10 cloys from date of

      invoke. Orders beyond three months accepted at rates then prevailing.
       * Former Marvel ComlC Group.

                                                                                          dosing dcite is 1st
       iv\ogo:dnes appear on sole during first month prececl:ng dote of issue. firm Order
                                                                                          of 3rd monih pre-
       coy of 3rd mo:1rh preceding date of issue. Copy can be accepted 1.mtil 7th day
                                                                                        Covers ore not
       cocEng dare of issue. Cancellation s not accepted ofter Firm Order closing dote.
       ccrncelloble.


                              ,V~arvel· Cornie Group                                                   William R. Stewart
                                     350 fifth Avenue                                              9 South Clinton Street
                                   New York 1, M. Y.                                                    Chicago 6, !liinoi,
                                            BRyont 9-5390                                                    FRank!in 5494
       Case 1:21-cv-07957-LAK                                   Document 94-12                                        Filed 06/30/23                               Page 4 of 8




                :::,OOO,OGG n-:or::hl1
                c·· ,n.1::.,f~ ._:.i1·ccon·c~J                               f/..1-\RVE:L COtv\!C GROUP




                                                                                                                                                                     10,000.00




                                                                12 l:::.ettlo:1:, or rnorn wlthiri l year.,




                6,000,000 mDr:frdy                                        RED UN!T p/:..1:, eith::.'t Gi.UF. or YEU.OV/ UNlT
                a•,10:csu guoranieed


                                                                            $5, 100,00                   2nd or :Jrd C,mer {il & W) ..                    . ......... $.5,70().00
                                                                              2,820,QO                   4ih Cover {4 c::dors) ....... ,                              7,500.00


                                                                 3 in~ertions. or more within 1 year..
                                                                 6 ins.crtior.s of more wJfrin 1 yt3csr.....                 5°/4
                                                                12 insertions or more within 1 ye~r. ..                      10<}0



                4,.000/JOO moothiy
                                                                                                                                                                               \
                cv0ro90 guan:m;e~d
                                                                                                                                                                               )
                  1 ?,..1~1e (4 colors) .... .                               $3,600.00                    2nd or Jrd Cover (B & Y./),.                           .. $4,000.00
                \':, Page {4 colors) .... .                                   1,980.00                    4th Cov-::.r (4 coiors) ....                               $5,000.00


                                                                  .3 in.senionr. or more v1lthin 1 year.... ....... ......     3~·~
                                                                  6 insertions er m,::>re \vithin 1 y~or ... _ .              5~10

                                                                12 in:;ertion~ or more within 1 year.........                1 O~·S

                                                                                                                                                   l2 tirrw.s

                                                 Per line ........                                       $12.GQ               $10.00                $9.00



                2,000,000 m('>,'1thiy                                                      BLUE UNIT
                ov~:rag~ gv(.lio.ntecd

                  1 Pog" (4 cc,lor>) ... .                                   $1,800.G(l                   2nd or 3rd Cover (B &. W) ....... ..                        $2,00CI.OO

                % Poge (4 co!.ors) ....... .                                    990.00                    4th Coyer (4 colors) .................... .                  1,500.00

                                                  Qvanliiy Di~co:.Jnt Payable When E~1rr1ed (on above !<pace units only)
                                                                  6 insertions or mere within 1 yecr.......                  3'3S
                                                                 12 in?i;ertion:i or more wiihin 1 year.                     5~;,,;


                                                 Per Jin~ ..                                          ...... $6.00              $5.00               $4.50



                 '..!,000,000 monthly                                                     YELLOW UNIT
                 av,H'>.1ge f..p;aronteed

                   1 ?oge (4 cc{ors).                                        :n,soa.oo                    2nd or 3rd Cover (B & W) ............................. $2,000.00
                                                                                 990.00                    4th Cover (4 co!ors).................                        2,500.00

                                                   Qvontity Discount Potable                    Er..1rr.ed (en above space units oniy)
                                                                  6 ins~rtions or more within 1 year .....             ...... 3%
                                                                 12 insertions or more within 1 year .................... 57'¢



                                                 Per iine .......... ..                                       ~6.00              $5.00               $4.SO


                                                                          SLUE cod YELLOVV UNiTS in cr.:imb;nct1cn


                                                   Quantity Discount Payobl.e                    Eo.rn~d (on C.lbove s.poce uflit::; only)
                                                                     3 insertions or more within 1 yt?or .. ,                  3S-·C
                                                                     6 insertion;,; or more wiihin 1 year....                  5%
                                                                 12 insertions or more within 1 y;~or                         1070




I\)
0


s:
)>
;:a
<
m
r
b
0
(,.)
co
co
0
0,
Case 1:21-cv-07957-LAK                                         Document 94-12                                       Filed 06/30/23                                          Page 5 of 8   co
                                                                                                                                                                                          0
                                                                                                                                                                                          0)
                                                                                                                                                                                          0)
                                                                                                                                                                                          (")
                                                                                                                                                                                          0
                                                                                                                                                                                          0
                                                                                                                                                                                          _j
                                                                                                                                                                                          w
                                                                                                                                                                                          >
                                                                                                                                                                                          0:::
                                                                                                                                                                                          <(
                                                                                                                                                                                          2:
                                                                                                                                                                                          N
                                                                                                                                                                                          0
                                                                                                                            '-'!l!!JA                                                     N
                                                                                                                 U..!0fH\-\,\ Pl!JA
                                                                                                                  P!:>l uno OMJ.
                                                                                                                     JO!k'l""J..
                                                                                                                   ucf.3.iovJ x01
                                                                    p,uo                                    ~S!dl..1 O!H <~?;;;;¼J_
                                                                                                                   S:>!:.UC·) !.W~l
                            Sf\U"A        ~::::01 sAo,\.\lV ~l::3'.fO~Jr.:-p...,01
                                                                       v,g~nr                                      ;~u;Joyv qr:<_;:
         /c.,~;•/4w "l~1<lwo) ;;n;J_
                                                                                                                              /,;-;r::;;                                  lpUfJ
                              ;o,so                            S:'l!tUO) 1:00
                                                                                                                  J~":1fO;V\ ..<s:inct                  O'.:of_.'t-cUl\-' U!-0p:JO)
                0,uomot1 t.1,¼Q ,l..yy                                ;:)!":{UO.::~
                                                             'S,WttJ6!JnW!J:)                                es;r:N ~ng ~~nnN                                 WO$J1JJ -")hO)'d
                 pu~;JJAOB ~1 !-Z:H\V
                                                  >•J!,H=>.p=.!,vv Du!:zntuv                                 f:,:povv otg ~:niv<                                                ~'$.;;8

                                                                                                                            /GAJ::1V,(             ~;o=..n..1uA tuor;::-i,.\\ !l\<
                                                 ~0~0) ~Wl.!) Ot'!.!l II'?'                       $'.)!1.110:)


                           SllNn JA0713A':lrrn l
                                                                                                                                                                    ~3JO 1JnDJ()
                                                                                                                                                                       l..jl{


                                                                                                                                                            C6S,·6 ;,m/4;0;,
      6t'6L 'AJ'-'"""f ;o NlSS!                                                                                                                          ~HH.nhv 4U~~ or~
                  l.pft<\. ~l~!~'~\1}:J                       Jc14s;i9nJ 'NVWGOO 0 NU}!Y'N

                                                                                                                                  w
                1. ·oN pJs,:) '-'l"l:l                                                                                                            •360.WA.n
                                                                                                                                                                1
                                                                                                                                                                    p02;t:o.t0r15

                                                                                          0) 13:\?J                                                     A!l{tUOU! 000 000-'8
                                                                                                                                                                           1




      Page and Cover Size .... ,. ................. . 6" x 9¼"                             Coiumn 'Nidth ................. ................. .............. 2 ''

       1/c   Poge <:;ize ...................................... 6" x 4 h"
                                                                                      1    No Bleed ?ages or Covers accepted



                                                                                                                                           art 1n positron, ready to
       ?!ates mode ot no cost to advertiser. Complete Black and 'Nhite original
                                                                                                                                  ort. For color pages, color
       photograp h, required. Velox Print may be supplied in p!ace of original
                                                                                                                               On1y line material accepted.
       breakdown must be supplied. Type size recommen ded 6 polnt or larger.
                                                                                                                               placed 1n any one unit mus~
       Copy sd,ject to publisher's approval. Advertisem ents ond key numbern
                                                                                                                      placed in more than one unit of
       be identko1 for that entire unit.* Adverfoem ents and key numbers
                                                                                                                                    combinatio n of units, must
       Mmvei Comic Group, and rnceiving odvantcf-Yl> of reduced rate for such
                                                                                                                             spoce in lc,rger units in cmes
        b0 identical for cill units."' Preference given to advertiser s pvrchosing

       of conflict.




                                                                                                         N,orvel
                                  Guorcrntee s (net paid monthly circuktiom based on avernges for yem):
                                                                                                      2,000,000
                               3,000,000 per month; Red Unit"' .4,000,000 per month ABC; %1e
                                                                                                 Unii
        Comic Group
                                                                        15%. Cosh Discount 2 ¾ Ytithin
        per month; Yellow Unit 2,000,000 per month. Agency Commissio n
        1 0 dcys from dote of bvoice.        beyond three r:1onths accepted at rnres then preyoi!inQ.



                                                                                                                             flrrn Order dodnQ date is i $f
        lvkgc:o:ines appecr on sde first month preceding and month of bue.
                                                                                                                        untH 7th day of 3rd rnonih pre ...
        doy of 3r,d n1onth preceding date of hsue~ Copy can be c1ccepted
                                                                             c!oslnq date. Covers ore noT
        ceding dote of issue. CcnceUc.Hons not c1cc:epted c-ficr Flrrn Order
        (.:oncellc:ble.



                                           .
                              f-Aarvei Cr. .,1nk Croup
                                 350 fihh /.\venue
                               i'<evJ Ycr-k 1s N~ Y.                                                                 (}:;ce:qo 6f Ptr~ofa
                                   £Ryant 9--58?0                                                                                             54S',.1
      Case 1:21-cv-07957-LAK                                             Document 94-12                                                     Filed 06/30/23                           Page 6 of 8




             S,000,000 ·:·{:Qnthl;;
             g<Jc<tGnte~d, ;::n.'r::rcige.



               1 ?ag<;: (•i cc,h;:-!;) ...... ,.
                                                                                                                     4fr: Cove;· (4 cobrs) ................ .... ,. ....... ~·······~ 10,000.00
             ~.:1 Pcs<: (,i ~olon) ..... .



                                                                       6 in:,,,~rtions or r,1.ote -.,vHh!:1 1 yi:<H .....                         59,-:-;

                                                                     12 iri:;erti,;)nS or more wHhin 1 year                                     109'0




                        monthly
               guarantee d, ovi;::rog-e.

                                                                                                                     2nd or 3rd Cover (S & W) ............... ............... $5,700.00
                 1 Pag~ (4 colors.) ............... ............... ........... $5,100.00
                                                                                                                                                                               7,500.CO
               Vii Page (4 colors.) .............. .... ., ................ ... . 2,820.00
                                                                                                                             above spoc:e ur.its only)
                                                        Qucntity 'Cfr.>cc,unt ?(.l)'C$bie \Vhen Eorn~d (<H-:.
                                                                        3 irn;ertions CH'' rnore within 1 year .......... ,. ...... ~.                 3 <?lo

                                                                        6 ins~rtio;u or more within 1 yecr......... ...........                        5.,}S




                4,000,.GOO mon1rity                                                                 RED UN!T
                guarcntr: ed, (.werage.

                                                                                                                       2nd or 3rd Cover (B & W) ............... ............. $4,000.00
                 1 ?,,9c (4 colon) ................ .. ,, ....................... $3,600.00
                                                                                   1,980.00                            4th Cover (4 colors) ............... ............... .......... $5,000.00
                ½ Pog" (4 cokm,)..........................................
                                                                                                          obovo ~pee~ units cniy)
                                                         Quantity Di::>count Pt.1yabli1 Y./hen Ecrned (on
                                                                         3 in.:.qrtions or more within 1 yoor........ ............                       3S,S

                                                                         6 Insertions or mere within 1 yi.:c.11.................... 5<;/o
                                                                        12 insertions or mort: wlfr1in l y~ar ............... ..... 109,-(.;


                                                               .       { "SHOP llY MAiL" Ol< )                                                           $10.00         $9.00
                                                        Per 1"'"""\            "STAMP" SECTION                 ...    $) 2 .00



                                                                                                    Bli.Jt' UN!T
                     2,000,000 monthly
                     guar,:i.nte ed, cvercge.
                                                                                                                         2nd or 3rd Cove,r {B & W) ................ .............. $2,000.00
                      1 Page (4 colors) ............... ............... ........... $1,800.00
                                                                                       990.00                            ~1th Cover {4 t{Jlors} ............... ............... ......... . 2,500.00

                                                                                                               above ~poce unit~ only)
                                                           Quani~ry Dis.count P,~yabl~ When Eorned (on
                                                                     6 insertions. or mor~ within 1 year ................ .... 3°/2
                                                                         12 insortions. or more vtlthin 1 year .................... 5%


                                                                              "SHOP BY MAil" OR                             $6.00                           $5.00       $4.50
                                                         Per                    "STAMP" SECTION


                                                                                                   YELLOW LlNli
                      2,000,000 mcnth:y
                      g:..:or,.mte cd, aYe-n..-;g~.
                                                                                                                            2nd or 3rd (over (8 & ',\/) ............... ............... $2,000.00
                       1 Poge (4 colors) ............... ............... ........... $1,SOO.OO
                                                                                           990.00                           4th Cover (4 colors}........................................ 2,500JJO
                      (6 Poge (4 colors)..... ............... ............... .......
                                                                                                                                                 space vriit~ only)
                                                            Quantity Dhcount Payobie When Earned (en above
                                                                            6 in:;ertions er more within 1 yeor .... ,_ ........        39-S  + ••••




                                                                                          er more within 1 y·e<u ... ~,m•••·  ......... 5'}~
                                                                           12 insertions


                                                                               "SHOP BY MAIL" OR )                            ¢         ,
                                                                                                                                                                $5.00     $4.50
                                                           l'er line..... (      "STAMP" 5ECT!O/~                /"""" -,o.OV


                                                                                   BUJE cr:d YELlO\V UNl:S in combinc;i on

                                                        Ou,rntHy Discount Pay'-lble \.Vhen Earned {c,n 2
                                                                                                         1/ ppge or iai'ger units only}
                                                                      3 insertion& er mor0 within 1 y0or\ ••                      o   ...............




                                                                               6 insertion:; or morf3 wlihin l yeorH ........ ... : .... ., 5(}f.
                                                                              ]2 insertionl:. or more within 1 y~ar ................ .... 10o/O

I\)
0


s:
)>
;:a
<
m
r
6
0
v,)
co
co
0
-.J
        Case 1:21-cv-07957-LAK                    Document 94-12                                    Filed 06/30/23                Page 7 of 8




                                                                                                                     Ri:sfo C(lrcl No. 4
                     N~Yt York          Y.                                                                           Ef-1cc•}h1u v:ah issu1~
                     u;tycrd·                                                                                        of Sepl:emlrnr, 1?47
                  Monthly Group issued Largely from the Following:

                  Blondo Ph6ntom                   Humz1n Torch                         lviu1·v0i                            SHly T1.:nt:s
                           America                 J13-ani0                             lv1il!I~       Model                 Sub Mariner
                                                   Jobr Comics                          Nelli<> tfw Nur5e                    TtHrn CDmiC:;
                  G?;;y Comics                     Junior h-11ss                        Oscar                                Tessie the Typi;;t
                  Georgie                          Krni:y Kom1cs                                   Walker                    Wi!l;e
                  Hedy De Vir,e                    tviargie

                      Page (4 coiors)_,, _ _ _ _ _ _ _ $2500.00                        2nd or 3rd Cover (B & W) _ _ _ _ _ _ $3000.00
                  lf2 Page (4 colors)                              $1300.00   4th Cover (4 colors)...                                 $3500.00
                                                 Spli+ .. run _ _ _ _ _ _ _ _ _ _ _ _ _ }Oo/~ exha
                  Pagn .and Cover Size____                    ........ 6" x 9V4"       No E!eod Pa90s accepted.
                  l/2 Page Size                                        611 x 4 1/-/'   No Blood Covers .:1ccepted~
                  ?l.,tes m<>d& at no cost to aavert,ser. Complete Black ac;d White original art and copy in position, r0ady to
                  photograph, required. Villox Print may be supplied in pl,,c0 of or,g,nal <>rt. For color pages, color breakdown must be
                  supplied. Typ.; siw recommended 6 point or iarger. Only lino mat.,,,,.I «ccapted. Cover proce$S plates will be used
                  only if advertiser supplies the plate5.




I\)
0


s:
)>
;:a
<
m
r
b
0
(,,.)
co
co
0
00
       Case 1:21-cv-07957-LAK               Document 94-12                  Filed 06/30/23            Page 8 of 8




               Copy          to Publisher's approval.
               Advertisements and key numbers placed ln any one group must be identical for that entire group.
               No units of space accepted other than those quoted.

               Guaranfoc: Net pald circulation 3,000,000 based on annual monthly average, ABC.
               Agency Commission l 5o/o. Cash discount 2% wHhin ! 0 day5 from date of invoice.
               Orders beyond three monH1s accepted at ra}es then prcvailin,g.

               MagJzines go on sak: during ! sf month preceding date of issue.
               Firm Order dosing date is lst day of 3rd month preceding date of issue. Copy will be accepted
               until 7th day of +hat month. Cancellaflons not accepfrd after Erm Order dosing date. Covers
               ure non-cancdlablc.

               New York: Marve-! Comic Group, 350 Fifth Avenue, New York !, N. Y., BRyant 9-5890.
               Chicago: William R. Stewart, 9 South Clinton Street, Chicago, rn., FRanklin 5494




I\)
0


s:
)>
;:a
<
m
r
b
0
(,.)
co
co
0
co
